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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

                v.
                                                         Crim. No. 17-232 (EGS)
    MICHAEL T. FLYNN,

                            Defendant


                      NOTICE OF DISCOVERY CORRESPONDENCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court an inventory of the discovery

correspondence in this case, all of which have been served upon the defendant’s counsel. The

discovery provided is itemized as follows:

               On November 22, 2017, the government transmitted to defense counsel by email
                the FD-302 summarizing the January 24, 2017, interview of the defendant
                (“January 24 interview”).

               On November 30, 2017, the government communicated orally to defense counsel
                that, as part of the DOJ Inspector General’s (“IG”) review of allegations regarding
                actions by the DOJ and FBI in advance of the 2016 election, the IG had identified
                electronic communications of one of the agents who interviewed the defendant on
                January 24, 2017, former Deputy Assistant Director (“DAD”) Peter Strzok, that
                showed a preference for one of the candidates for President. The government
                further relayed to defense counsel that those communications were part of the
                IG’s review, including the IG’s assessment as to whether those communications
                constituted misconduct by DAD Strzok. Additionally, the government informed
                defense counsel that DAD Strzok said that the defendant had a sure demeanor and
                did not give any indicators of deception during the January 24 interview, and that
                both he and the second interviewing agent had the impression at the time that the
                defendant was not lying or did not think he was lying. In response to these
                disclosures, the government answered questions from defense counsel.1

               On March 13, 2018, the government provided a flash drive containing 14
                attachments, comprised of 1,160 pages of documents relating to the defendant’s

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       Defense counsel acknowledged receipt of these disclosures in a June 6, 2019, letter to
Attorney General William Barr.
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        false statements to the FBI on January 24, 2017, and 21,142 pages of documents
        relating to the March 7, 2017, FARA filings (“FARA filings”).

       On May 25, 2018, the government provided a draft of the January 24 interview
        report; summaries of the interviews of four individuals related to the defendant’s
        false statements to the FBI on January 24, 2017; a summary of an internal DOJ
        document, dated January 30, 2017, in which the FBI advised the DOJ that it did
        not believe that the defendant was acting as an agent of Russia; a summary of
        interviews of White House and transition officials concerning the defendant’s
        conversations with Ambassador Kislyak; five pages of documents related to the
        FARA filings; and summaries of the interviews of four individuals related to the
        FARA filings.

       On June 1, 2018, the government provided two additional drafts of the January 24
        interview report.

       On June 24, 2018, the government provided a letter to defense counsel providing
        notice of existence of 48 emails in possession of a filter team, a link to additional
        DAD Strzok text messages released by the IG, and summaries of the interviews of
        two individual related to the FARA filings.

       On October 4, 2018, the government provided defense counsel with two
        documents containing communications of DAD Strzok.

       On November 8, 2018, the government provided defense counsel with a summary
        of its investigation into whether (i) the FD-302 for the January 24 interview was
        altered to strengthen a false statement charge against the defendant; and (ii) the
        interviewing agents were pressured to “get” the defendant, most of which the
        government had previously communicated orally to defense counsel. Attached to
        this letter were interview reports pertaining to these unfounded allegations.

       On December 14, 2018, the government provided defense counsel with a
        summary of an interview of an individual related to the defendant’s false
        statements to the FBI on January 24, 2017.

       On August 3, 2019, the government provided defense counsel, by email, a
        detailed explanation regarding access to classified information.

       On August 16, 2019, the government provided defense counsel with a courtesy
        copy of documents that it was providing in response to a Congressional inquiry.




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        The government further notes that the summaries of the interviews of five individuals
related to the defendant’s false statements to the FBI on January 24, 2017, were provided to the
Court on December 14, 2018, for in camera review; at that same time, the government also
provided the FD-302s of those five interviews to the court.

                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    United States Attorney
                                                    D.C. Bar No. 472845

                                                    By: /s/

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Dated: October 1, 2019




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                               CERTIFICATE OF SERVICE

      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on October 1, 2019.




                                              ______/s/_______________
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